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                    Exhibit E
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  DNA transfection using linear poly(ethylenimine) prepared by
    controlled acid hydrolysis of poly(2-ethyl-2-oxazoline)
   Ji Hoon Jeong, Soon Ho Song, Dong Woo Lim, Haeshin Lee, Tae Gwan Park*
        Department of Biological Sciences, Korea Advanced Institute of Science and Technology, Taejon 305 -701, South Korea

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Abstract

   A series of linear poly(ethylenimine) (L-PEI) containing varying amounts of cationic charge density in its backbone was
produced by controlled hydrolysis of poly(2-ethyl-2-oxazoline) (PEtOz) for using as a nonviral DNA transfection agent. The
effects of cationic charge density and molecular weight of the L-PEI on the cytotoxicity and transfection efficiency were
studied. The efficiency of transfection was monitored by using a luciferase reporter gene system. Gel retardation assay and
dynamic light scattering (DLS) showed that the condensation capacity of L-PEI was suitable for transfection. Highly
compacted L-PEI / DNA complex (|150 nm) was obtained with a surface charge value of around 128.4 mV. Cell cytotoxicity
was affected to a great extent by the hydrolysis percent of L-PEI as well as by the molecular weight. Transfection efficiency
of luciferase plasmid DNA against NIH 3T3 fibroblast was largely dependent upon the hydrolysis percent (charge density) in
the polymer backbone and the molecular weight of the L-PEI, but independent of the total amount of cationic charges used
for DNA condensation. L-PEI with a hydrolysis percent of 88.0% exhibited comparable transfection efficiency to that of
commonly used branched PEI.  2001 Elsevier Science B.V. All rights reserved.

Keywords: Poly(2-ethyl-2-oxazoline); Controlled hydrolysis; Linear poly(ethylenimine); Gene transfection; Charge density




1. Introduction                                                        extensively used cationic polymers due to its su-
                                                                       perior transfection efficiency against a wide array of
    A variety of cationic polymers such as poly-                       cells in vitro [7]. PEI was also used in several in
ethylenimine (PEI) [1,2], polyamidoamine [3], poly-                    vivo transfections to the kidney of rats [8] and
( L-lysine)   (PLL)     [4,5],   and    poly(2-(di-                    intracerebral region of mice [9]. PEI has a large
methylamino)ethyl methacrylate) (DMAEMA) [6]                           buffering capacity under physiological pH, which
have been used for the delivery of DNA into                            provides DNA / PEI complex a chance for facilitated
mammalian cells. Among them, PEI, a highly bran-                       escape from endosome by a ‘proton sponge’ effect
ched cationic polymer composed of primary, sec-                        [10]. Although most of PEI used for gene transfec-
ondary, and tertiary amines, is one of the most                        tions were highly branched species, a linear PEI
                                                                       (L-PEI) was more recently reported that L-PEI was
  *Corresponding author. Tel.: 182-42-869-2621; fax: 182-42-           an effective gene carrier under in vitro and in vivo
869-2610.                                                              conditions [11–13]. It was proved that L-PEI had not
  E-mail address: tgpark@mail.kaist.ac.kr (T.G. Park).                 only lower cytotoxicity than branched PEI, but also

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had transfection efficiency as high as branched one.              lowed by extensive dialysis in deionized water. The
However, the cytotoxicity and transfection efficiency             resultant polymer, linear PEI (L-PEI), was freeze-
of L-PEI were not examined in detail in terms of its              dried and stored in a desiccator before use. Percent
cationic charge density and molecular weight. L-PEI               hydrolysis of each polymer was determined by using
                                                                  1
can be produced from the hydrolysis of poly(2-ethyl-                H NMR analysis. 1 H NMR spectra of each polymer
2-oxazoline) (PEtOz), which is known to have as low               dissolved in D 2 O were taken with a Brucker DRX
toxicity as that of poly(ethylene glycol) [14]. In this           400 spectrometer operating at 400 MHz. Chemical
study, a series of L-PEI having varying charge                    shift (d ) was measured in ppm by using 3-(trimethyl-
densities of secondary amine group in the polymer                 silyl) propionic-2,2,3,3-d 4 acid (TSP) sodium salt as
backbone was prepared by controlled acid hydrolysis               an internal reference.
of PEtOz. The resultant L-PEI contained different
molar ratios of two monomers, hydrolyzed                          2.3. Gel retardation assay
ethylenimine      and    unhydrolyzed     N-propionyl
ethylenimine in its polymer chain. The effects of                   L-PEIs (1.5 mg) with varying hydrolysis percent-
cationic charge density in the polymer backbone and               ages and a fixed amount of plasmid DNA (0.3 mg)
its molecular weight on the cytotoxicity and transfec-            were diluted separately in 103 volume of DMEM.
tion efficiency were investigated.                                The diluted L-PEI and DNA solution were combined
                                                                  in different nitrogen / phosphate (N / P) ratios with
                                                                  gentle vortexing. After 15 min incubation at room
2. Materials and methods                                          temperature, the complexes were used for analysis.
                                                                  Electrophoresis was carried out with a current of 50
2.1. Materials                                                    V for 1 h in TAE buffer solution (40 mM Tris–HCl,
                                                                  1%, v / v, acetic acid, 1 mM EDTA). The retardation
   PEtOz with nominal molecular weight of 50 000                  of the complexes was visualized by ethidium bro-
(catalog [ 372846) and and 200 000 (catalog [                     mide staining.
372854) was obtained from Aldrich (Milwaukee,
WI). Branched PEI with MW of 25 000 was also
from Aldrich. Cell culture materials, Dulbecco’s                  2.4. Determination of surface charge and particle
modified Eagle’s medium (DMEM) and fetal bovine                   size of polycation /DNA complexes
serum (FBS), were purchased from Gibco-BRL
(Grand Island, NY). Ethidium bromide and (3-(4,5-                    Surface zeta potential measurements were carried
dimethylthyazolyl-2)-2,5-diphenyl tetrazolium bro-                out at 258C by using a zeta potential analyzer (Zeta
mide) (MTT) were obtained from Sigma (St. Louis,                  Plus, Brookhaven Instrument. NY) equipped with a
MO). DEAE-Sepharose CL-6B for purification of                     He–Ne laser at a wavelength of 632 nm. Effective
hydrolyzed polymer was also purchased from Sigma.                 hydrodynamic diameter was measured by dynamic
All other chemicals were of analytical grade.                     light scattering using the same instrument. Every
                                                                  measurement was carried out in three serial measure-
2.2. Hydrolysis of poly(2 -ethyl-2 -oxazoline)                    ments.

   Five grams of PEtOz dissolved in 20 ml deionized               2.5. Potentiometric titration
water was added in a 250-ml round-bottomed flask
equipped with a magnetic stirrer and condenser.                     Potentiometric titration of L-PEI and branched PEI
Hydrolysis of the polymer was performed at 1008C                  was measured with 0.1 M HCl as a titrant by using
for 6 h with the addition of the desired amount of                an automatic titration system, 702 SM Titrino (Met-
35% hydrochloric acid (HCl) (0.1 N). The hydro-                   rohm, Switzerland). The titration was performed in a
lyzed product was neutralized by the addition of 5 N              monotonic titration mode with a flow rate of 0.1
sodium hydroxide (NaOH). The neutralized product                  ml / min. The titration data was analyzed by using
was purified by using DEAE–Sepharose resin, fol-                  TiNet 2.3 software (Metrohm).
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2.6. Cell culture                                                bolic activity of the cells was measured [15]. One
                                                                 hundred microliters of fresh growth medium con-
   NIH 3T3 murine fibroblast was purchased from                  taining 50 mg MTT were added to each well and
Korea Cell Line Bank (Seoul, South Korea) and                    cells were incubated for 4 h. Lysis buffer (10%, w / v,
were cultured in DMEM supplemented with 10%                      SDS, 45% DMF, pH 4.7) was then added and
FBS, streptomycin at 100 mg / ml, penicillin at 100              incubated for 24 h. Absorbance was measured at 590
IU / ml, and 2 mM L-glutamine. Cells were main-                  nm in a microplate reader (Bio-Rad, Model 550).
tained at 378C in a humidified 5% CO 2 atmosphere.               Survival percentage was calculated as compared to
One hundred thousand cells per well were plated in               mock-treated cells (100% survival).
six-well plates (35 mm diameter, Nunc) in 1.5 ml
DMEM with 10% FBS 24 h before transfection.
                                                                 3. Results and discussion
2.7. Complex formation and transfection
                                                                 3.1. Hydrolysis of poly(2 -ethyl-2 -oxazoline)
   Plasmid DNA (pRSVLuc) was purified from
Escherichia coli DH5a using a Qiagen column                         In order to produce a series of linear poly-
(Qiagen, Hilden, Germany). Two micrograms of the                 ethylenimine (L-PEI) with different cationic charge
plasmid DNA and the desired amount of L-PEI were                 densities, partial hydrolysis of PEtOz was carried
diluted separately in 103volume of DMEM. The                     out. Various concentrations of hydrochloric acid were
diluted polymer solution was added to the DNA with               used to control the extent of hydrolysis. The struc-
gentle vortexing and left for 15 min at room tem-                ture of L-PEI is shown in Fig. 1. Strictly speaking,
perature. Two hundred microliters of the polymer-                the obtained L-PEI was a random copolymer com-
DNA complexes were added to cells in 0.6 ml of                   posed of hydrolyzed unit of ethylenimine and unhy-
serum-free DMEM. After 3 h incubation, the                       drolyzed unit of N-propionyl ethylenimine. It was
medium was supplemented with 10% FBS. Lucifer-                   reported that the degree of deacylation in PEtOz
ase gene expression was determined 48 h after                    could be controlled by the amount of acid used
transfection by using a commercial luciferase assay
kit (Promega, Madison, WI). The luciferase activity
was monitored for 15 s in a Lumat LB 9501
luminometer (Berthold, Wilbach, Germany). Each
transfection experiment was carried out in duplicate
and was expressed as relative light unit per mg of
cell protein. Each experiment was repeated at least 3
times to ensure its reproducibility. Protein concen-
tration per well was measured by using the Micro-
BCA assay (Pierce, Rockford, IL).

2.8. In vitro toxicity assay

   NIH 3T3 cells were plated in 96-well plates at
density of 5000 cells per well in 0.2 ml of growth
medium consisting of DMEM with 10% FBS and
antibiotics. Cells were grown at 378C for 48 h.
Polymer solutions were prepared in serum (10%
FBS) supplemented DMEM. The growth medium
was removed and the growth medium containing
desired amount of L-PEI was added. The cells were                Fig. 1. Schematic diagram of acid-based hydrolysis of poly(2-
incubated for additional 48 h, after which the meta-             ethyl-2-oxazoline). The hydrolysis was carried out at 1008C.
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Table 1                                                                 amine group, was also detected (peaks 6 and 7).
Acid hydrolysis of poly(2-ethyl-2-oxazoline) at 1008C                   Even after extensive dialysis and purification with
Code        MW of poly(2-ethyl-   HCl concentration     Percent         anion-exchange resin (DEAE–Sepharose), a residual
            2-oxazoline)          (%, v / v)            hydrolysis a    amount of propionic acid could not be fully re-
A            50 000                5.0                  52.6            moved. The relative amount of propionic acid re-
B            50 000                7.5                  73.3            maining in the polymer was not influenced by the
C            50 000               10.0                  88.0            degree of deacylation. Hydrolysis percent of PEtOz
D           200 000               10.0                  91.6
                                                                        with MW 50 000 by using HCl concentrations of 5.0,
    a
        Determined by using 400-MHz 1 H NMR spectra.                    7.5, and 10.0% (v / v) was 52.6, 73.3, and 88.0%,
                                                                        respectively. However, insoluble precipitate could be
                                                                        detected when using higher concentration of HCl
[16,17]. In this study, different concentrations of 5.0,                (.15%, v / v), suggesting that L-PEI with well over
7.5, and 10.0% (v / v) HCl were used for the hy-                        95% hydrolysis formed a water-insoluble crystalline
drolysis of PEtOz of molecular weight 50 000.                           phase in aqueous solution because of the increasing
PEtOz with higher molecular weight of 200 000                           extent of stereoregular chain structure in the polymer
were also used to investigate the effect of polymer                     backbone. This observation was in agreement with
chain length on DNA transfection efficiency and                         the report that truly 100% hydrolyzed L-PEI was
cytotoxicity. As the concentration of HCl increased,                    water insoluble because of its crystallization in water
the extent of hydrolysis increased as listed in Table                   [16]. This is similar to the situation of water-soluble
1. A typical 1 H NMR spectrum of hydrolyzed PEtOz                       polyvinylalcohol (PVA), which was produced from
is shown in Fig. 2. Hydrolysis percentage of PEtOz                      the hydrolysis of polyvinylacetate. Fully hydrolyzed
was determined by calculating the relative area of                      PVA is not soluble in water at room temperature due
proton peak in ethylenimine unit (peaks 2 and 3) to                     to its crystallinity. Accordingly, in order to use
N-propionyl ethylenimine unit (peak 1). Residual                        L-PEI as a gene transfection agent, it should have
amount of hydrolysis product, propionic acid, which                     some part of unhydrolyzed N-propionyl ethylenimine
might be ionically bound to protonated secondary                        structural units in the polymer backbone.




                                         Fig. 2. Typical 1 H NMR spectrum of hydrolyzed L-PEI.
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3.2. Gel retardation assay

   The condensation property of various hydrolyzed
L-PEI species, with luciferase plasmid DNA, was
analyzed at different N / P ratios of L-PEI / DNA by
gel retardation assay using an agarose gel electro-
phoresis. The N / P ratio was calculated on the basis
of L-PEI nitrogen per DNA phosphate as described
in Boussif et al. [1]. Fig. 3 shows the gel retardation
result of L-PEI / DNA complexes with increasing
N / P ratio for the sample of 88.0% hydrolyzed L-
PEI. The complete retardation of the complex can be
seen as approaching at the N / P ratio of 2.5, sug-
gesting that L-PEI and plasmid DNA started to form                   Fig. 4. The effect of the N / P ratio on the effective hydrodynamic
the complexes above the N / P ratio of 2.5.                          volume and zeta potential. Every measurement was carried out in
                                                                     three serial measurements.

3.3. Size and surface charge of polymeric complex

   DNA condensation capacity of 88.0% hydrolyzed                     between the N / P ratio of 60 and 80. Larger particles
L-PEI (sample C) was further analyzed by a dynamic                   (.1500 nm) were generated at the N / P ratio of 5.0,
light scattering (DLS) method. As shown in Fig. 4,                   at which surface zeta potential value of the complex
the formation of complex nanoparticles around 200-                   particles becomes near 0, being neutral (Fig. 4). This
nm size occurred above the N / P ratio of 25. Highly                 observation is directly in accordance with the result
compacted form of the complex (|150 nm) appeared                     from the gel retardation assay as shown in Fig. 3.
                                                                     The increased size of complex at the N / P ratio of 5
                                                                     was clearly due to the aggregation between the
                                                                     complexes having almost neutral surface charge. At
                                                                     that ratio, charge–charge repulsion between the
                                                                     particles becomes minimal. The hydrolyzed L-PEI
                                                                     and DNA formed compact polyelectrolyte complexes
                                                                     around 200 nm in diameter at much higher N / P
                                                                     ratios than other cationic polymers including branch-
                                                                     ed PEI [18]. Theoretically, the surface charge value
                                                                     of polymer / DNA complex particles becomes zero at
                                                                     the N / P ratio of 1, which is based on two assump-
                                                                     tions that: (i) 1:1 ionic interaction occurs between
                                                                     cationic nitrogen atom in L-PEI and anionic phos-
                                                                     phorous atom in DNA; and (ii) both of the atoms are
                                                                     fully charged. The reason for producing highly
                                                                     compacted complex particles at the higher N / P ratios
                                                                     was likely caused by the presence of unprotonated
                                                                     nitrogen of hydrolyzed ethylenimine unit in the
                                                                     polymer backbone. Potentiometric titration of the
                                                                     L-PEI showed a broad buffering capacity ranging
Fig. 3. The effect of N / P ratio of L-PEI on electrophoretic        from 9.0 to 4.5, which demonstrated that a large
mobility of the polymer / DNA complex. NC represents free DNA
without complex formation. Increasing amounts of PEI were            fraction of nitrogen atom in L-PEI remained unproto-
added to a fixed amount of DNA (0.3 mg) as described in              nated (Fig. 5A). However, the buffering capacity of
Section 2.                                                           L-PEI is far smaller than branched PEI having
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                                                                      particles gradually decreases by increasing the N / P
                                                                      ratio. This result agreed well with the previously
                                                                      published data using PLL [5]. The size of the L-PEI /
                                                                      DNA complex was slightly larger than that of the
                                                                      DNA complex with branched PEI, which was re-
                                                                      ported as 90–130 nm in diameter [18]. In the aspect
                                                                      of polymer structure with equal molecular weight,
                                                                      branched PEI was reported to condense DNA more
                                                                      effectively than linear PEI [19]. The reduced capaci-
                                                                      ty of DNA condensation was observed in the previ-
                                                                      ous experiment with moderately branched PEI [20].

                                                                      3.4. In vitro cytotoxicity

                                                                         Influence of cationic charge densities and molecu-
                                                                      lar weights of the L-PEI on cell viability was
                                                                      monitored by using MTT assay. Varying amounts of
                                                                      the L-PEI having different charge densities (different
                                                                      hydrolysis percentage) and different molecular
                                                                      weights were added into the culture medium for
                                                                      determining the cell viability. Branched PEI (b-PEI,
                                                                      MW 25 000), which has the highest positive charge
                                                                      density in its backbone among the polymers used,
                                                                      showed the greatest cytotoxicity compared to its
                                                                      linear counterparts as shown in Fig. 6. As the
                                                                      cationic charge density in the polymer backbone of
                                                                      the L-PEI increases, cell viabilities are progressively




Fig. 5. Potentiometric titration of (A) L-PEI and (B) branched
PEI. The titrations of the polymer solutions were carried out by
using 0.1 N HCl as a titrant.



similar molecular weight (Fig. 5B). The large buffer-
ing capacity of branched PEI is likely due to the
presence of various primary, secondary and tertiary
amine groups in its backbone. In the case of the
L-PEI, inter- and intra-molecular hydrogen bonding
between unprotonated nitrogen in the ethylenimine
unit and carbonyl group (–C=O) of unhydrolyzed
N-propionyl ethylenimine unit might participate in                    Fig. 6. Viability of NIH 3T3 fibroblast cells as a function of
                                                                      concentration of various L-PEIs. Cell viability was determined by
reducing hydrogen exchange rate, which is important
                                                                      using MTT assay (n52). Each MTT assay was repeated at least 3
in determining the buffering capacity. Thus, the                      times to ensure reproducibility. b-PEI, branched PEI; (A–C) 52.6,
higher N / P ratio seems to be required to produce the                73.3, and 88.0% hydrolyzed L-PEI of MW 50 000, respectively;
compact complex particles. The diameter of complex                    (D) 91.6% hydrolyzed L-PEI of MW 200 000.
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lowered. The L-PEIs with lower charge densities                       slightly higher hydrolysis percentage (91.6%), the
(samples A and B) showed far lower cytotoxicity                       transfection efficiency was not as high as that of the
than that of sample C, even in the polymer con-                       sample C. This may be attributed to the cytotoxicity
centration range where the total amount of cation                     of the polymer due to the increased molecular weight
charges used for cell cytotoxicity experiment was                     as seen in Fig. 6. This agrees with the previous
greater than that of sample C. Considering that the                   report [9], in which branched PEI of lower molecular
deacylation of PEtOz occurs in a random fashion, it                   weight provided better transfection efficiency than
can be suggested that the charge density in the                       those of higher molecular weight due to molecular
polymer has more profound effect on cell viability                    weight-dependent cytotoxicity. Since the N / P ratios
than the total amount of cationic charges. It can also                of the polymer–DNA complexes were kept constant
be found that the molecular weight of the L-PEI                       at 20, the result also implies that the total amount of
affects cell viability. Although it has nearly the same               cationic charge seemed not to be a major factor. In
charge density as 88.0% hydrolyzed L-PEI (sample                      contrast, the charge density and molecular weight of
C), the L-PEI with higher molecular weight (sample                    the L-PEI played a more critical role in cell transfec-
D) exhibits almost the same level of cytotoxicity as                  tion.
branched PEI. These results suggest that the charge                      Because the sample C showed the highest trans-
density as well as the molecular weight of the L-PEI                  fection and lower cytotoxicity compared to the other
can be important factors for the cell viability.                      polymers, the 88.0% hydrolyzed L-PEI was used in
                                                                      further experiment to observe the influence of the
3.5. In vitro transfection                                            charge ratio on transfection efficiency. The highest
                                                                      transfection efficiency can be obtained at the N / P
   The influence of cationic charge density and                       ratio of 25, at which the L-PEI showed similar
molecular weight of the L-PEI on transfection ef-                     transfection efficiency to that of branched PEI (b-
ficiency was explored. As shown in Fig. 7, 88.0%                      PEI) (N / P ratio of the b-PEI / DNA complex was
hydrolyzed L-PEI (sample C) showed the highest                        13.5) (Fig. 8). Interestingly, an equivalent level of
transfection efficiency. Although the sample D has                    transfection was still maintained with increasing the




Fig. 7. Influence of charge densities and molecular weight of L-PEI on transfection efficiency. N / P ratio of all samples was 20. All
transfection experiments were carried out in duplicate and were repeated at least three times to confirm reproducibility.
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Fig. 8. Effect of increasing N / P ratio on transfection efficiency. ‘B’ represents branched PEI (b-PEI). All transfection experiments were
carried out in duplicate and were repeated at least three times for reproducibility.



N / P ratio. This can be explained by very low                           ethylenimine /N-(2-hydroxyethyl)ethylenimine,      of
cytotoxicity of the L-PEI in the polymer concen-                         which structure is similar to that of the L-PEI
tration range. Cell viability at the transfection con-                   showed lower cytotoxic effect [21]. Thus, our results
centration of the sample C (at N / P ratio of 62.5) was                  from the cell transfection experiment directly reveal
about 90%, whereas cell viabilities at the same                          the importance of cytotoxicity of cationic polymers
concentration of sample D and branched PEI were                          for cell transfection.
about 67 and 66%, respectively. It was reported that
the transfection efficiency with lower molecular
weight branched PEI (MW 11 900) increased up to                          4. Conclusions
66.7 of N / P ratio without showing any significant
cytotoxicity [20]. At that N / P ratio, free polymer                        Cell transfection study with a series of L-PEI
molecules, which are either unbound or loosely                           having different charge densities produced by con-
bound to DNA, might exist. Owing to the low                              trolled hydrolysis of PEtOz demonstrated that both
cytotoxicity of the polymer, the constant transfection                   charge density and molecular weight of the L-PEI
efficiency was maintained at the higher N / P ratios.                    had an important effect on cell viability as well as
In contrast, it was also reported that the branched                      transfection efficiency. By using an optimized L-
PEI with higher molecular weight demonstrated that                       PEI / DNA formulation, much reduced cytotoxicity of
transfection efficiency decreased significantly at the                   the L-PEI, compared to commercial branched PEI,
N / P ratio of higher than 13.5 [1]. The reduction of                    could be attained and DNA transfection efficiency as
transfection efficiency was attributed to the cytotox-                   high as that of b-PEI was achieved. From this point
icity of the cationic polymers used. The L-PEI used                      of view, the reduced cytotoxicity gives the L-PEI an
in this study has about 10% of oxazoline unit                            advantage over the branched PEI because high dose
remaining unhydrolyzed, which might play a part in                       amount of cationic polymer is required for desired
reducing the cytotoxicity of the polymer. In a recent                    effect in in vivo experiments. Taken together, it is
study, it was shown that a copolymer of                                  expected that the L-PEI can be used as a favorable
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candidate for gene delivery for both in vitro and in                          transfer in the adult mammalian brain: polyethylenimine,
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